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8                       THE UNITED STATES DISTRICT COURT
9                    FOR THE SOUTHERN DISTRICT OF CALIFORNIA
10                                             )
     BORREGO COMMUNITY HEALTH                  )   Case No.:   3:22-cv-01056-AJB-AGS
11                                             )
     FOUNDATION, a California nonprofit        )   ORDER GRANTING JOINT MOTION
12   public benefit corporation;               )   TO EXTEND DEFENDANTS’ TIME TO
                                               )   FILE RESPONSE TO COMPLAINT
13                                             )
                 Plaintiff,                    )
14         vs.                                 )
                                               )
15                                             )
     KAREN HEBETS, an individual; et al.,      )
16                                             )
                 Defendants.                   )
17                                             )
18
           Plaintiff Borrego Community Health Foundation (“Plaintiff”) and Defendants
19
     Douglas Ness and Ness Dental Corporation (“Defendants”) having stipulated hereto, and
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     good cause appearing therefor, the Joint Motion to Extend Defendants’ Time to Respond to
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     Complaint is hereby GRANTED. Accordingly, Defendants’ response to Plaintiff’s
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     complaint is now due on or before October 10, 2022.
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     IT IS SO ORDERED.
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     Dated: September 1, 2022
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